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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

PAIGE E. STEADMAN,             *
                               *
                   Plaintiff,  *
                               *                     CIVIL ACTION FILE
      vs.                      *                     NO. 1:03-CV-2035-CAP
                               *
SARA LEE BAKERY GROUP, INC.,   *
EARTHGRAINS BAKING COMPANIES, *
INC., BILLY MICHAEL RUSSELL,   *
LUMBERMENS MUTUAL CASUALTY *
COMPANY,                       *
                               *
                   Defendants. *

             DEFENDANTS’ JOINT MOTIONS IN LIMINE
                    AND BRIEF IN SUPPORT

      COME NOW Defendants Sara Lee Bakery Group, Inc., Earthgrains

Baking Companies, Inc., Lumbermens Mutual Casualty Company, and Billy

Michael Russell, and jointly move this Court to limit the testimony,

argument, actions of counsel, and the introduction of evidence of the

Plaintiff and the witnesses called on behalf of Plaintiff as follows:

1.    Evidence relating to Defendant Russell’s negligence and
      Defendants Sara Lee and Earthgrains’ liability for his actions
      under theory of respondeat superior is inadmissible as irrelevant

      Only evidence that is relevant is admissible. See Fed.R.Evid. 402.

Likewise, evidence that does not tend to support a material fact in

controversy is not relevant and not admissible. See Fed.R.Evid. 402.
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      Here, Defendants have admitted negligence for the Defendant driver,

Billy Michael Russell, and admitted vicarious liability for the Defendant

employer under the theory of respondeat superior. The only remaining issue

is whether Mr. Russell’s conduct proximately caused the full extent of

Plaintiff’s alleged damages. Evidence of specific alleged negligent acts of

Mr. Russell – such as failing to keep a proper lookout, speeding, driving too

fast for conditions, or any other alleged acts of negligence – has no

relevance to this issue.

      Likewise, the challenged evidence should be barred because its

admission would only serve to inflame the jury and unfairly prejudice the

jury against the Defendants, denying them a fair trial. Even marginally

relevant evidence should be excluded if its probative value is outweighed by

its tendency to confuse the jury or have unduly prejudicial effect.

Fed.R.Evid. 403. Because Defendants have admitted liability, evidence as to

Mr. Russell’s negligence would only serve to confuse the jury as to its role

in determining the measure of Plaintiff’s damages. In other words, such

evidence has no probative value as to any remaining issue in this case.

Defendants therefore respectfully ask the Court to preclude Plaintiff from

introducing evidence as to Mr. Russell’s negligence.
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2.    Evidence of Negligent Hiring, Training, or Retention of Russell by
      the Corporate Defendants is Inadmissible.

      When an employer admits respondeat superior, or agency, it is entitled

to summary judgment on a plaintiff’s claims for negligent entrustment,

hiring, training, and retention. Durben v. American Materials, Inc., 232 Ga.

App. 750, 503 S.E.2d 618 (1998); Bartja v. Nat. Union Fire Ins. Co., 218

Ga. App. 815, 463 S.E.2d 358 (1995). The policy underlying this rule is

that, because the employer would be liable for the employee’s negligence

under respondeat superior, allowing claims for negligent entrustment, hiring,

training, and retention would not entitle the plaintiff to a greater recovery.

Id. Instead, it would merely serve to prejudice the employer. Id.

      Here, Sara Lee has admitted that Mr. Russell was acting within the

course and scope of his employment when the underlying accident occurred.

Therefore, Plaintiff’s claims for negligent hiring, training, retention, and

entrustment are now merely duplicative of their agency claims.

Accordingly, Defendants respectfully ask the Court to preclude Plaintiff

from attempting to introduce evidence in support of these claims.

      Moreover, because Defendants have conceded              Mr. Russell’s

negligence and Sara Lee’s and Earthgrain’s (collectively, Sara Lee’s)

vicarious liability, Plaintiff should be barred from presenting evidence of

alleged acts of Sara Lee’s alleged negligent hiring, training, or retention of
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Mr. Russell.      Again, only evidence that is relevant is admissible.   See

Fed.R.Evid. 402. Evidence that does not tend to support a material fact in

controversy is not relevant and not admissible. See Fed.R.Evid. 402. Even

marginally relevant evidence should be excluded if its probative value is

outweighed by its tendency to confuse the jury or have unduly prejudicial

effect.     Fed.R.Evid. 403.   Here, Sara Lee has admitted agency, and its

alleged negligent hiring and training of Mr. Russell – which Defendants

strenuously dispute -- is therefore immaterial.       Defendants respectfully

submit that the admission of such evidence would be improper under

Georgia law, and ask the Court to grant its motion as to this issue.

3.         Inferences or any mention that Defendant Russell was allegedly
          driving under the influence of any medication, drug or alcohol at
          the time of the accident is inadmissible

          Evidence of a witness’s drug use is improper character evidence,

unless the party who wishes to introduce such evidence shows its relevance

to the issues being tried by the jury. Crowe v. State, 259 Ga. App. 780, 782,

578 S.E.2d 134 (2003). Without a showing of relevance, this character

evidence would be inadmissible as gratuitously interjecting the witness’s

drug use simply to prejudice the jury. Id.

          Moreover, a “factual determination of driving ability as revealed

through toxicological analysis is ‘beyond the ken’ of the average juror and
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thus is established through expert testimony.” Id. Without testimony from a

toxicologist or an otherwise-qualified expert that toxicological tests show

impairment, the Court may not introduce evidence of the tests. Crowe, 259

Ga. App. at 782; see also Lyerly v. Phillips, 188 Ga. App. 566, 373 S.E.2d

663 (1988) (finding that improper admission of defendant’s prescription-

drug use, without showing of relevance, raised “the odor of criminality” and

was so prejudicial it could not have been cured).

      Here, Plaintiff has not identified any experts in its portion of the

Court’s pre-trial order that will testify that the trace amount of prescription

medication in Mr. Russell’s blood after the accident could have impaired

Mr. Russell’s driving ability at the time of the accident. Consequently, any

mention that Mr. Russell was allegedly driving under the influence of any

medication, drug, or alcohol at the time of this accident, or that Mr. Russell’s

post-accident drug screen even showed a scant trace of his lawfully-

prescribed prescription medication, should be barred from evidence or

argument or suggestion by counsel. The evidence does not support any

inference that Mr. Russell was impaired by any medication at the time of the

accident, and such evidence would therefore be irrelevant . In fact, the

undisputed evidence shows that Mr. Russell was tested by the GBI

immediately after the accident and the testing revealed he had no legally
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relevant quantity of any such substances in his system. Notably, there is no

evidence that Mr. Russell was charged with DUI or any other traffic

violation following the accident.

      Although there is no evidence or even a suggestion that Mr. Russell

was impaired at the time of the accident, counsel for Plaintiff have stated

that they intend to suggest to the jury that Mr. Russell was under the

influence at the time of the accident. Because Defendants have admitted the

driver’s negligence in this action, the challenged evidence is immaterial,

extraneous, and irrelevant to any issue to be decided concerning Plaintiff’s

compensatory damages.        The introduction of such evidence would only

serve to raise “the odor of criminality” in this case, and would likely confuse

and mislead the jury. See Lyerly, 188 Ga. App. at 567; Fed.R.Evid. 403

(noting that even marginally relevant evidence should be excluded if its

probative value is outweighed by its tendency to confuse the issues or the

jury). Accordingly, Defendants respectfully ask the Court to bar Plaintiff

from attempting to introduce this evidence at trial.1


      1
       Mr. Russell underwent a mandatory blood test following the accident
pursuant to request of Officer Burks of the GBI. The blood test was taken
pursuant to Georgia's (former) statute requiring drivers involved in serious
accidents to submit to post-accident blood tests. Notably, the Georgia
Supreme Court has since declared that statute unconstitutional on the
grounds it violates the Fourth Amendment’s protection against unreasonable
searches and seizures. Cooper v. The State, 277 Ga. 282, 587 S.E.2d (2003).
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4.    Evidence of      Defendant     Russell’s    marital   difficulties   in
      inadmissible

      Any evidence of Defendant Russell’s marital difficulties should be

barred from evidence in the trial of this case because such evidence is not

relevant to a determination of damages in this admitted liability case.

Fed.R.Evid. 402. Such evidence is also inadmissible character evidence.

Fed.R.Evid. 608.

5.    Inferences, comments, or evidence suggesting improper conduct
      of parties during the discovery period or Defendants’ “delay” in
      admitting liability

      Defendants respectfully ask the Court to instruct Plaintiff and their

counsel to refrain from making any comments regarding any alleged

discovery disputes between the parties or Defendant’s “delay” in admitting

liability, as such testimony, evidence or commentary is completely irrelevant

and prejudicial. Fed.R.Evid. 402.

      For example, in General Motors Corp. v. Moseley, et al., 213 Ga.

App. 875, 447 S.E.2d 302 (1994), the Georgia Court of Appeals stated that

Plaintiff’ counsel’s attempts to elicit information and/or present argument

about GM’s alleged attempts to hide information regarding problems with

Because the statute permitted the state to obtain the blood tests without a
showing of probable cause, the Georgia Supreme Court held that it was
unconstitutional. This decision also requires this Court to exclude the blood
test results at trial.
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the type of vehicle at issue and the alleged practice of       giving elusive

answers to interrogatories, “woodshedding” engineers who testified, and

making incomplete searches of engineering files in response to discovery

requests, were all improper references to discovery disputes which should

have been excluded by the trial court during trial.

      Similarly, any reference to any discovery disputes in this case between

the Plaintiff and these Defendants would serve no purpose except to unduly

prejudice the jury against Defendants. As the Court is well aware, resolving

discovery disputes is not a function of the jury, but rather a responsibility

belonging solely to the Court. The proper vehicle by which a party resolves

disputes pertaining to discovery is by moving the Court for an appropriate

Order.

     Defendants respectfully request that this Court instruct Plaintiff and her

counsel to refrain from referring to or eliciting any testimony which would

hint, suggest, or intimate to the jury of any discovery disputes between

Plaintiff and Defendants or that Defendants have allegedly withheld any

information requested in discovery by Plaintiff. To allow Plaintiff or her

attorneys to make such improper and highly prejudicial comments would

only serve to unfairly prejudice the jury against Defendants and create error

in the case.
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6.    Inference that the jury should, by their verdict, “send a message”
      to Defendants regarding any type of conduct complained of in this
      case or seek any result other than compensation for Plaintiff by
      an award of damages against these Defendants.

      Plaintiff and her attorneys should be barred from inferring or

mentioning that the jury should send a message to Defendants in rendering

their compensatory verdict in this case. In Locklear v. Morgan, 129 Ga.

App. 763, 201 S.E.2d 163 (1973), a verdict for plaintiff was reversed and a

new trial ordered due to counsel’s argument that the jury “[r]ender such a

verdict that will speak out loud, will speak out clearly, and it will be not only

for the benefit of the [plaintiff], but be an inestimable benefit for everyone in

this county and everyone throughout the state.” Since the Court is required

to bifurcate the trial to determine any amount due, if any, for punitive

damages, it would be improper for Plaintiff to urge the jury to “send a

message” to Defendants through an award of compensatory damages.

7.    That Plaintiff’s counsel refrain from asking improper and
      prejudicial questions to the jury on voir dire and refrain from
      certain comments in opening statement to the jury.

      Defendants move this Court in Limine for an Order instructing

Plaintiff’s counsel to refrain from asking improper and prejudicial questions

to the jury on voir dire and to refrain from certain comments in opening

statement to the jury, to-wit:

      A.     Any question to the jury on voir dire concerning the amount of
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any potential or possible verdict.     Such questions are prejudicial and

improper;

      B.    Any question to the jury on voir dire asking the prospective

jurors to agree to award or commit to award the Plaintiff a specific amount

of monetary damages or a sum in excess of a specific amount of monetary

damages. Such questions are prejudicial and improper;

      C.    Any hypothetical questions to the jury on voir dire involving

evidence to be presented to the trial.     Hypothetical questions involving

evidence to be presented to the jury are not proper voir dire. See Davis and

Shulman’s Georgia Practice and Procedure, §20-4.

      D.    Any attempt to inform the jury that the potential award in this

case could be substantial or large.     Such questions are prejudicial and

improper;

      E.     Any attempt on voir dire to ask hypothetical questions to the

jury that involve a substantial outline of the case and ask the jury to assume

evidence prior to its introduction.     Such questions are prejudicial and

improper. Davis and Shulman’s Practice and Procedure, §20-4.
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8.     Evidence or argument intimating that the corporate Defendants
       should be judged by any standard or afforded any level or degree
       of justice different from that applicable to a natural person is
       inadmissible.

       Any type of evidence or argument implying that the corporate

Defendants should be judged by a standard different from that applicable to

a natural person is inadmissible because any such evidence or argument is

irrelevant and is more prejudicial than probative. Any such evidence is in no

way relevant to any issue raised by Plaintiff’ Complaint and, in addition,

would very likely prejudice the jury towards the corporate Defendants.

Further, under the Constitution and laws of the United States, the parties in

this case are entitled to the right of trial by jury which jury must be allowed

to make reasonable inferences from facts proven in evidence having a

reasonable tendency to sustain them. U.S. Const. Amend. VII; Lashley v.

Ford Motor Co., 359 F. Supp. 363, 367-68 (M.D. Ga. 1972). No implication

that the corporate Defendants should be treated differently due to their

corporate status aids the jury in making any reasonable inferences in this

case. Id.; see also Western & A.R. Co. v. Cox, 115 Ga. 715, 42 S.E. 74

(1902) (verdict for plaintiff was reversed and a new trial ordered due to

counsel’s argument that “[t]he only way to reach a railroad is to make it pay

money. A railroad has no soul, no conscience, no sympathy and no God.”).
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9.     That Plaintiff Be Barred From Introducing Evidence Regarding
       Mr. Russell’s CB Handle

       Defendants anticipate that Plaintiff intends to elicit testimony that Mr.

Russell’s CB handle at the time of the accident was “Nervous Wreck.” Such

evidence has no relevance or probative value in this case, and could only

serve to prejudice the jury against Mr. Russell by suggesting that Mr.

Russell was an unsafe driver and prone to “wrecks” caused by nervousness.

Defendants respectfully ask the Court to preclude Plaintiff from mentioning

Mr. Russell’s CB handle.

                               CONCLUSION

       WHEREFORE, Defendants respectfully request that the Court instruct

Plaintiff and her counsel not to mention, refer to, interrogate concerning,

voluntarily answer, or attempt to convey to the jury, at any time during these

proceedings, in any way either directly or indirectly, the subject matters as

stated above without first informing the Court and obtaining the permission

of the Court outside the presence and hearing of the jury, and further to

instruct Plaintiff and her counsel not to make any reference to the fact that

this Motion in Limine was made, argued, and ruled upon by the Court; and,

further to instruct counsel to warn and caution each and every witness

involved in Plaintiff’s case to comply with such ruling of the Court.
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      Finally, it is requested that, should this Motion in Limine be granted

in whole or in part, and should Plaintiff or her counsel violate the Court’s

ruling as to this Motion in Limine, a mistrial of the case will be granted due

to the irreparable damage which would be suffered by Defendants as a result

of such violation.

      This 30th day of May, 2006.

                                Respectfully submitted,

                                SWIFT, CURRIE, MCGHEE & HIERS,
                                LLP


                                By: /s/* Lynn M. Roberson*

                                LYNN M. ROBERSON
                                Georgia State Bar No. 608047
                                Attorney for Defendants Sara Lee Bakery
                                Group,     Inc.,    Earthgrains  Baking
                                Companies,Inc., and Lumbermens Mutual
                                Casualty Company

1355 Peachtree Street, N.E. , Suite 300
Atlanta, Georgia 30309-3238
(404) 874-8800

                                DREW ECKL & FARNHAM, LLP


                                By: /s/* Andrew D. Horowitz*

                                ANDREW D. HOROWITZ
                                Georgia Bar No: 367815
                                Attorneys for Defendant
                                Billy Michael Russell
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DREW, ECKL & FARNHAM, LLP
P. O. Box 7600
Atlanta, GA 30357-0600
                        (404) 885-1400
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                       CERTIFICATE OF SERVICE

        I hereby certify that I have this day served a copy of the within and

foregoing Defendants’ Joint Motions in Limine and Brief in Support

upon all parties to this matter by depositing a true copy of same in the U. S.

Mail, proper postage prepaid, addressed to counsel of record as follows:

                    John C. Bell Jr., Esq.
                    Bell, James & Bentley
                    P. O. Box 1547
                    Augusta, GA 30903-1547

        This 30th day of May, 2006.


                                             /s/* Lynn M. Roberson*
                                             Lynn M. Roberson
                                             Georgia State Bar No. 608047
                                             Attorneys for Defendants
1355 Peachtree Street, N.E.
Suite 300
Atlanta, Georgia 30309-3238
(404) 888-6146




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